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                            UNITED STATES COURT OF APPEALS
                                   DISTRICT OF COLUMBIA
Donald R. Cowan,

   Plaintiff,

   v.
                                                       Case No: 24-1173
Joel Taubenblatt, Bureau Chief,
Wireless Telecommunications Bureau of the
Federal Communications Commission,

   Defendant.


  MOTION FOR LEAVE TO AMEND PETITON FOR DECLARATORY JUDGMENT

                                AND WRIT OF PROHIBITION



        Petitioner moves for leave to amend his Petition currently being reviewed by this Court.

After reviewing the local rules of the Court Petitioner has determined that his initial Petition is

procedurally and fatally flawed and needs Amending to be in compliance with the Court.



        Petitioner has filed the Amended Petition in a separate filing for review.



         Respectfully Submitted,



                                                       /s/ Donald R. Cowan
                                                       Donald R. Cowan, Plaintiff
                                                       3768 SE 48th PL
                                                       Oklahoma City, Oklahoma 73135
                                                       (405) 708-1756 | Cowan.Radio@gmail.com




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                                     Certificate of Service


       I hereby certify that the attached “Motion for leave to Amend Petition for Declaratory

Judgment and Writ of Prohibition” was electronically filed wit the Clerk of the Court on June 20,

2024




                                                     /s/ Donald R. Cowan
                                                    Donald R. Cowan, Plaintiff
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